                                  Case 2:15-cv-01741-JAK-FFM Document 47-1 Filed 08/29/16 Page 1 of 30 Page ID #:463



                                                        1   GREGORY M. BERGMAN, ESQ. (SBN 065196)
                                                            MICHELE M. GOLDSMITH, ESQ. (SBN 178222)
                                                        2   JASON J. BARBATO (SBN 301642)
                                                            BERGMAN DACEY GOLDSMITH
                                                        3   10880 Wilshire Blvd. Suite 900
                                                            Los Angeles, California 90024-4101
                                                        4   Telephone: 310.470.6110
                                                            Facsimile: 310.474.0931
                                                        5
                                                            Attorneys for Defendants, CITY OF INGLEWOOD
                                                        6   MAYOR JAMES BUTTS; CHIEF OF POLICE MARK FRONTEROTTA
                                                        7
                                                        8                                  UNITED STATES DISTRICT COURT
                                                        9            CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                                                       10
                                                       11   MARTIN SISSAC                               Case No. 2:15-cv-01741-JAK-FFM
                                                       12                                 Plaintiffs,   DEFENDANTS’ SEPARATE
                                                                                                        STATEMENT OF
Telephone: (310) 470-6110, Facsimile: (310) 474-0931




                                                       13   v.                                          UNCONTROVERTED FACTS AND
                                                                                                        CONCLUSIONS OF LAW IN
       BERGMAN DACEY GOLDSMITH




                                                       14   CITY OF INGLEWOOD; MAYOR                    SUPPORT OF MOTION FOR
           10880 Wilshire Blvd. Suite 900
           Los Angeles, California 90024




                                                            JAMES BUTTS; CHIEF OF                       SUMMARY JUDGMENT OR, IN THE
                                                       15   POLICE MARK FRONTEROTTA                     ALTERNATIVE, FOR PARTIAL
                                                            AND DOES 1 THROUGH 10,                      SUMMARY JUDGMENT
                                                       16   INCLUSIVE,
                                                                                                        Date: September 26, 2016 [Reserved]
                                                       17                                 Defendants.   Time: 8:30 a.m.
                                                                                                        Ctrm: 750
                                                       18
                                                                                                        [Filed Separately but concurrently herewith:
                                                       19                                                  1. Motion for Summary Judgment;
                                                                                                           2. Declaration of Michele Goldsmith;
                                                       20                                                  3. Declaration of Cal Saunders;
                                                                                                           4. Declaration of Micah Herd; and
                                                       21                                                  5. Declaration of Kevin Harris]
                                                       22
                                                                                                        Trial: December 6, 2016
                                                       23
                                                            TO THE COURT, PLAINTIFF AND HIS ATTORNEYS OF RECORD HEREIN:
                                                       24
                                                                     Defendants City of Inglewood, James Butts, and Mark Fronterotta
                                                       25
                                                            (“Defendants”), for themselves alone, will and hereby do submit the following
                                                       26
                                                            Separate Statement of Undisputed Material Facts in Support of their Motion for
                                                       27
                                                            Summary Judgment or, in the Alternative, for Partial Summary Judgment against
                                                       28
                                                            Plaintiff Martin Sissac (“Plaintiff”), pursuant to Fed. R. Civ. Proc. 56 and Local Rule
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                                                                                                                              SEPARATE STATEMENT RE MSJ
                                  Case 2:15-cv-01741-JAK-FFM Document 47-1 Filed 08/29/16 Page 2 of 30 Page ID #:464



                                                        1   56-1.
                                                        2   ADJUDICATION OF ISSUE NO. 1:
                                                        3            Plaintiff’s First Cause of Action for Violation of First Amendment and
                                                        4   Fourteenth Amendment of United States Constitution (42 U.S.C. §§ 1983 and 1988)
                                                        5   against the Individually Named Defendants in Their Official and Individual Capacity
                                                        6   must be adjudicated in favor of Defendants, and each of them, because the
                                                        7   undisputed facts establish as a matter of law that Plaintiff spoke as a public
                                                        8   employee, and not as a private citizen. Separate Statement of Undisputed Materials
                                                        9   Facts, Nos. 1-22, and 104.
                                                       10                UNDISPUTED FACTS                         SUPPORTING EVIDENCE
                                                       11    1. Mr. Sissac was a police officer for          Dkt. 47-2, Declaration of Michele M.
                                                       12         the Inglewood Police Department            Goldsmith (“Goldsmith Decl.”), ¶ 3,
Telephone: (310) 470-6110, Facsimile: (310) 474-0931




                                                       13         (“IPD”) beginning on October 18,           Exh. A, Deposition of Martin Sissac,
       BERGMAN DACEY GOLDSMITH




                                                       14
           10880 Wilshire Blvd. Suite 900




                                                                  1993.                                      Vol. 1 (“Sissac 1 Depo.”) at 12:1.
           Los Angeles, California 90024




                                                       15
                                                       16    2. Mr. Sissac was promoted to captain           Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,
                                                       17         in 2008.                                   Sissac 1 Depo. at 12:23-24.
                                                       18    3. As a captain in 2011, Mr. Sissac was Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,
                                                       19         assigned to the Office of                  Sissac 1 Depo. at 34:8-11, 38:5-13.
                                                       20         Administrative Services, and grants
                                                       21         were one of his responsibilities.
                                                       22    4. In early 2009, the United States             Dkt. 33, ¶ 15.
                                                       23         Department of Justice (DOJ) made a
                                                       24         grant available for qualified local
                                                       25         police departments, which was called
                                                       26         COPS Hiring Recovery Program
                                                       27         (CHRP).
                                                       28

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                                                                                                                               SEPARATE STATEMENT RE MSJ
                                  Case 2:15-cv-01741-JAK-FFM Document 47-1 Filed 08/29/16 Page 3 of 30 Page ID #:465


                                                                         UNDISPUTED FACTS                       SUPPORTING EVIDENCE
                                                        1
                                                             5. Mr. Sissac admits that one of his job Dkt. 33, ¶ 15.
                                                        2
                                                                  responsibilities in 2011 was a
                                                        3
                                                                  familiarity with the CHRP grant,
                                                        4
                                                                  including making recommendations.
                                                        5
                                                             6. Mr. Sissac attended a July 2011            Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,
                                                        6
                                                                  meeting with Mayor Butts, Artie          Sissac 1 Depo. at 70:6-7.
                                                        7
                                                                  Fields, and then-Chief Jacqueline
                                                        8
                                                                  Seabrooks, wherein the CHRP grant
                                                        9
                                                                  was discussed.
                                                       10
                                                             7. At the July 2011 meeting, Mr. Sissac Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,
                                                       11
                                                                  admits that he was simply giving         Sissac 1 Depo. at 70:6-7.
                                                       12
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                                                                  advice at the meeting about the
                                                       13
       BERGMAN DACEY GOLDSMITH




                                                                  CHRP grant.
                                                       14
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           Los Angeles, California 90024




                                                       15
                                                             8. Mr. Sissac admits that at the July         Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,

                                                       16
                                                                  2011 meeting, he did not raise a         Sissac 1 Depo. at 115:6-11.

                                                       17
                                                                  concern that what the City was

                                                       18
                                                                  contemplating doing regarding

                                                       19
                                                                  CHRP was improper or illegal.

                                                       20    9. After this July 2011 meeting, Mr.          Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,

                                                       21         Sissac never had any other               Sissac 1 Depo. at 69:13-16, 191:15-

                                                       22         interactions with Mayor Butts            192:1.

                                                       23         regarding “supplanting” and CHRP.

                                                       24    10. “Supplanting” is the improper use of Dkt. 47-2, Goldsmith Decl., ¶ 7, Exh. E,

                                                       25         federal funds (here the CHRP grant       Deposition of Michael Falkow (“Falkow

                                                       26         funds) in place or in lieu of available Depo.”) at 197:10-18.

                                                       27         general funds.

                                                       28

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                                                                                                                             SEPARATE STATEMENT RE MSJ
                                  Case 2:15-cv-01741-JAK-FFM Document 47-1 Filed 08/29/16 Page 4 of 30 Page ID #:466


                                                                         UNDISPUTED FACTS                          SUPPORTING EVIDENCE
                                                        1
                                                             11. In the November 17, 2015 Order               Dkt 31, pp. 6-7.
                                                        2
                                                                  regarding Defendants’ Motion to
                                                        3
                                                                  Dismiss, this Court concluded that
                                                        4
                                                                  Plaintiff’s speech with the then-City
                                                        5
                                                                  Attorney Cal Saunders could qualify
                                                        6
                                                                  as speech outside of the chain of
                                                        7
                                                                  command.
                                                        8
                                                             12. Mr. Sissac spoke to Cal Saunders,            Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,
                                                        9
                                                                  the City Attorney at the time,              Sissac 1 Depo. at 150:2-6.
                                                       10
                                                                  regarding the CHRP grant and his
                                                       11
                                                                  concerns that the City was
                                                       12
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                                                                  “supplanting.”
                                                       13
       BERGMAN DACEY GOLDSMITH




                                                             13. Mr. Sissac spoke to Cal Saunders at          Dkt. 47-2, Goldsmith Decl., ¶ 7, Exh. E,
                                                       14
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           Los Angeles, California 90024




                                                                  the suggestion of Michael Falkow.           Falkow Depo. at 22:17-25.
                                                       15
                                                       16
                                                             14.Captains of the IPD, like Mr. Sissac,         Dkt. 47-3, Declaration of Cal Saunders

                                                       17
                                                                  regularly spoke with the City               (“Saunders Decl.”), ¶ 6.

                                                       18
                                                                  Attorney as part of their duties as a

                                                       19
                                                                  Captain and Command Staff officers.

                                                       20    15.City Attorney Saunders would                  Dkt. 47-3, Saunders Decl., ¶ 6.

                                                       21         provide his thoughts and legal

                                                       22         opinions to Captains and other IPD

                                                       23         management personnel.

                                                       24    16. Mr. Sissac told City Attorney                Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,

                                                       25         Saunders that he was concerned              Sissac 1 Depo. at 151:1-18; Dkt. 47-3,

                                                       26         about the use of the CHRP grant             Saunders Decl., ¶ 11.

                                                       27         funds.

                                                       28

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                                                                                                                                 SEPARATE STATEMENT RE MSJ
                                  Case 2:15-cv-01741-JAK-FFM Document 47-1 Filed 08/29/16 Page 5 of 30 Page ID #:467


                                                                         UNDISPUTED FACTS                         SUPPORTING EVIDENCE
                                                        1
                                                             17.City Attorney Cal Saunders told Mr.          Dkt. 47-3, Saunders Decl., ¶ 11.
                                                        2
                                                                  Sissac that he would look into Mr.
                                                        3
                                                                  Sissac concerns and advise.
                                                        4
                                                             18.Mr. Sissac admitted that City                Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,
                                                        5
                                                                  Attorney Saunders told him that he         Sissac 1 Depo. at 156:6-8.
                                                        6
                                                                  would look into it.
                                                        7
                                                             19. City Attorney Saunders did look             Dkt. 47-3, Saunders Decl., ¶ 11.
                                                        8
                                                                  into Mr. Sissac’s concerns and
                                                        9
                                                                  concluded that the City could modify
                                                       10
                                                                  the existing CHRP grant, and under
                                                       11
                                                                  certain circumstances, could request
                                                       12
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                                                                  DOJ to modify the grant and retain
                                                       13
       BERGMAN DACEY GOLDSMITH




                                                                  police officers.
                                                       14
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           Los Angeles, California 90024




                                                       15
                                                             20. Mr. Sissac admitted that he did his         Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,

                                                       16
                                                                  job by bringing the issue to               Sissac 1 Depo. at 152:13-153:5.

                                                       17
                                                                  someone’s attention—namely, City

                                                       18
                                                                  Attorney Saunders.

                                                       19    21. Mr. Sissac did not discuss with City        Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,

                                                       20         Attorney Saunders any broad                Sissac 1 Depo. at 193:25-194:4; Dkt. 47-

                                                       21         concerns about corruption or               3, Saunders Decl., ¶ 13.

                                                       22         systemic abuse.

                                                       23    22. Mr. Sissac was never ordered by             Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,

                                                       24         Chief Seabrooks, Mr. Fronterotta, or       Sissac 1 Depo. at 194:5-14; Dkt. 47-3,

                                                       25         any member of the City Council to          Saunders Decl., ¶ 13.

                                                       26         not speak to the City Attorney about

                                                       27         his concern regarding the CHRP

                                                       28         grant.

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                                                                                                                               SEPARATE STATEMENT RE MSJ
                                  Case 2:15-cv-01741-JAK-FFM Document 47-1 Filed 08/29/16 Page 6 of 30 Page ID #:468



                                                        1   ADJUDICATION OF ISSUE NO. 2:
                                                        2            Plaintiff’s First Cause of Action for Violation of First Amendment and
                                                        3   Fourteenth Amendment of United States Constitution (42 U.S.C. §§ 1983 and 1988)
                                                        4   against the Individually Named Defendants in Their Official and Individual Capacity
                                                        5   must be adjudicated in favor of Defendants, and each of them, because the
                                                        6   undisputed facts establish as a matter of law that even if Plaintiff spoke as a private
                                                        7   citizen, the speech was not a substantial or motivating factor in the adverse
                                                        8   employment action. Separate Statement of Undisputed Materials Facts, Nos. 23-35.
                                                        9                UNDISPUTED FACTS                        SUPPORTING EVIDENCE
                                                       10    23. Mr. Sissac does not know if City           Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,
                                                       11         Attorney Saunders spoke to Mayor          Sissac 1 Depo. at 192:17-23.
                                                       12         Butts.
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                                                       13    24. City Attorney Saunders generally           Dkt. 47-3, Saunders Decl., ¶ 6.
       BERGMAN DACEY GOLDSMITH




                                                       14
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           Los Angeles, California 90024




                                                                  did not share the identity of the
                                                       15         persons who share their legal
                                                       16         concerns with him.
                                                       17    25. Mr. Sissac never authorized City           Dkt. 47-3, Saunders Decl., ¶ 12.
                                                       18         Attorney Saunders to share his
                                                       19         concerns with anyone.
                                                       20    26. City Attorney Saunders did not             Dkt. 47-3, Saunders Decl., ¶ 12.
                                                       21         speak with Mayor Butts regarding
                                                       22         Mr. Sissac’s concern regarding the
                                                       23         modification of the CHRP grant.
                                                       24    27. Mayor Butts was never notified (by         Dkt. 47-2, Goldsmith Decl., ¶ 5, Exh. C,
                                                       25         anyone) that Mr. Sissac met with          Deposition of James T. Butts (“Butts
                                                       26         City Attorney Saunders, wherein Mr. Depo.”) at 65:11-15.
                                                       27         Sissac conveyed his belief that the
                                                       28         manner that the CHRP grant was

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                                                                                                                              SEPARATE STATEMENT RE MSJ
                                  Case 2:15-cv-01741-JAK-FFM Document 47-1 Filed 08/29/16 Page 7 of 30 Page ID #:469


                                                                         UNDISPUTED FACTS                          SUPPORTING EVIDENCE
                                                        1
                                                                  being modified or used was
                                                        2
                                                                  unlawful.
                                                        3
                                                             28. City Attorney Saunders did not               Dkt. 47-3, Saunders Decl., ¶ 12.
                                                        4
                                                                  speak to then Captain (now Chief)
                                                        5
                                                                  Fronterotta regarding Mr. Sissac’s
                                                        6
                                                                  concern regarding the modification
                                                        7
                                                                  of the CHRP grant.
                                                        8
                                                             29. Mr. Sissac did not tell the City             Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,
                                                        9
                                                                  Council of his “supplanting”                Sissac 1 Depo. at 158:6-9; see also Dkt.
                                                       10
                                                                  concerns regarding the CHRP grant.          47-2, Goldsmith Decl., ¶ 7, Exh. E,
                                                       11
                                                                                                              Falkow Depo. at 58:13-16.
                                                       12
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                                                       13
                                                             30. Mayor Butts never found out that             Dkt. 47-2, Goldsmith Decl., ¶ 5, Exh. C,
       BERGMAN DACEY GOLDSMITH




                                                       14
                                                                  Mr. Sissac maintained that the              Butts Depo., 61:1-5.
           10880 Wilshire Blvd. Suite 900
           Los Angeles, California 90024




                                                       15
                                                                  manner that the City was modifying

                                                       16
                                                                  the CHRP grant to secure the $3

                                                       17
                                                                  million funds was done unlawfully.

                                                       18    31. Then Captain (now Chief)                     Dkt. 47-2, Goldsmith Decl., ¶ 6, Exh. D,

                                                       19         Fronterotta never learned in the            Deposition of Mark Fronterotta

                                                       20         Summer of 2011 that Mr. Sissac              (“Fronterotta Depo.”) at 28:8-14; 40:13-

                                                       21         expressed an opinion that the manner 16.

                                                       22         in which the City’s CHRP grant was

                                                       23         being modified was illegal.

                                                       24    32. On or about October 8, 2015,                 Dkt. 33, ¶ 37.

                                                       25         Plaintiff’s termination became final.

                                                       26    33. Mayor Butts was never advised by             Dkt. 47-2, Goldsmith Decl., ¶ 5, Exh. C,

                                                       27         Chief Fronterotta that the Chief            Butts Depo., 89:8-13; Dkt. 47-2,

                                                       28         would be recommending termination Goldsmith Decl., ¶ 6, Exh. D,

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                                                                                                                                SEPARATE STATEMENT RE MSJ
                                  Case 2:15-cv-01741-JAK-FFM Document 47-1 Filed 08/29/16 Page 8 of 30 Page ID #:470


                                                                         UNDISPUTED FACTS                          SUPPORTING EVIDENCE
                                                        1
                                                                  of Mr. Sissac.                              Fronterotta Depo. at 243:7-23.
                                                        2
                                                             34. Mr. Falkow did not tell Mayor Butts Dkt. 47-2, Goldsmith Decl., ¶ 7, Exh. E,
                                                        3
                                                                  that Mr. Sissac was claiming that he        Falkow Depo. at 192:24-193:2.
                                                        4
                                                                  was being retaliated against because
                                                        5
                                                                  of his concern regarding the CHRP
                                                        6
                                                                  grant.
                                                        7
                                                             35. Mr. Falkow did not tell Chief                Dkt. 47-2, Goldsmith Decl., ¶ 7, Exh. E,
                                                        8
                                                                  Fronterotta that Mr. Sissac was             Falkow Depo. at 195:4-7.
                                                        9
                                                                  claiming that he was being retaliated
                                                       10
                                                                  against because of his concern
                                                       11
                                                                  regarding the CHRP grant funding.
                                                       12
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                                                       13
                                                            ADJUDICATION OF ISSUE NO. 3:
       BERGMAN DACEY GOLDSMITH




                                                       14
                                                                     Plaintiff’s First Cause of Action for Violation of First Amendment and
           10880 Wilshire Blvd. Suite 900
           Los Angeles, California 90024




                                                       15
                                                            Fourteenth Amendment of United States Constitution (42 U.S.C. §§ 1983 and 1988)

                                                       16
                                                            against the Individually Named Defendants in Their Official and Individual Capacity

                                                       17
                                                            must be adjudicated in favor of Defendants, and each of them, because the

                                                       18
                                                            undisputed facts establish as a matter of law that James Butts and Mark

                                                       19
                                                            Fronterotta are entitled to qualified immunity. Separate Statement of Undisputed

                                                       20
                                                            Materials Facts, No. 36.

                                                       21                UNDISPUTED FACTS                          SUPPORTING EVIDENCE

                                                       22    36. For ease of reference, and to                See Above. Undisputed Materials Facts,

                                                       23         minimize repetition and the length of Nos. 1-35 facts speak to this issue.

                                                       24         this separate statement, Defendants

                                                       25         incorporate by reference Undisputed

                                                       26         Materials Facts, Nos. 1-35 as fully

                                                       27         stated herein.

                                                       28

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                                                                                                                                SEPARATE STATEMENT RE MSJ
                                  Case 2:15-cv-01741-JAK-FFM Document 47-1 Filed 08/29/16 Page 9 of 30 Page ID #:471



                                                        1   ADJUDICATION OF ISSUE NO. 4:
                                                        2            Plaintiff’s Second Cause of Action for Monell Liability for Violation of the
                                                        3   First Amendment and Fourteenth Amendment against the City of Inglewood must be
                                                        4   adjudicated in favor of Defendants, and each of them, because the undisputed facts
                                                        5   establish as a matter of law that no unconstitutional tort occurred.                Separate
                                                        6   Statement of Undisputed Materials Facts, No. 37.
                                                        7               UNDISPUTED FACTS                          SUPPORTING EVIDENCE
                                                        8   37. For ease of reference, and to                See Above. Undisputed Materials Facts,
                                                        9       minimize repetition and the length of        Nos. 1-35 facts speak to this issue.
                                                       10       this separate statement, Defendants
                                                       11       incorporate by reference Undisputed
                                                       12       Materials Facts, Nos. 1-35 as fully
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                                                       13       stated herein.
       BERGMAN DACEY GOLDSMITH




                                                       14
           10880 Wilshire Blvd. Suite 900
           Los Angeles, California 90024




                                                            ADJUDICATION OF ISSUE NO. 5:
                                                       15            Plaintiff’s Second Cause of Action for Monell Liability for Violation of the
                                                       16   First Amendment and Fourteenth Amendment against the City of Inglewood must be
                                                       17   adjudicated in favor of Defendants, and each of them, because the undisputed facts
                                                       18   establish as a matter of law that the City of Inglewood did not have a policy,
                                                       19   custom, or practice of retaliation. Separate Statement of Undisputed Materials
                                                       20   Facts, Nos. 38-40.
                                                       21
                                                                        UNDISPUTED FACTS                          SUPPORTING EVIDENCE
                                                       22
                                                            38. Mr. Sissac alleges that the City has a       Dkt. 33, ¶ 60.
                                                       23
                                                                policy to retaliate against its
                                                       24
                                                                employees who engage in protected
                                                       25
                                                                free speech.
                                                       26
                                                            39.Mr. Sissac is not aware of any written Dkt. 47-2, Goldsmith Decl., ¶ 4, Exh. B,
                                                       27
                                                                document or policy that is maintained Deposition of Martin Sissac, Vol. 2
                                                       28
                                                                by either Mayor Butts or Chief               (“Sissac 2 Depo.”) at 398:20-399:21;
                                                            F:\1229\46\Pldg\MSJ-SS.docx                  9
                                                                                                                                SEPARATE STATEMENT RE MSJ
                                                       Case 2:15-cv-01741-JAK-FFM Document 47-1 Filed 08/29/16 Page 10 of 30 Page ID
                                                                                         #:472


                                                          1               UNDISPUTED FACTS                          SUPPORTING EVIDENCE

                                                          2       Fronterotta that either uses to retaliate 403:5-15.

                                                          3       against persons for exercising First

                                                          4       Amendment rights.

                                                          5   40. In fact, the City forbids any type of        Dkt. 47-2, Goldsmith Decl., ¶ 6, Exh. D,

                                                          6       retaliation.                                 Fronterotta Depo. at 101:19-25.

                                                          7   ADJUDICATION OF ISSUE NO. 6:
                                                          8            Plaintiff’s Second Cause of Action for Monell Liability for Violation of the
                                                          9   First Amendment and Fourteenth Amendment against the City of Inglewood must be
                                                         10   adjudicated in favor of Defendants, and each of them, because the undisputed facts
                                                         11   establish as a matter of law that even if an unconstitutional tort occurred, there is
                                                         12   no causal link between the challenged municipal conduct—termination—and
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                                                         13   the constitutional deprivation. Separate Statement of Undisputed Materials Facts,
       BERGMAN DACEY GOLDSMITH




                                                         14   Nos. 41.
           10880 Wilshire Blvd. Suite 900
           Los Angeles, California 90024




                                                         15               UNDISPUTED FACTS                          SUPPORTING EVIDENCE
                                                         16   41. For ease of reference, and to                See Above. Undisputed Materials Facts,
                                                         17       minimize repetition and the length of        Nos. 22-35 facts speak to this issue.
                                                         18       this separate statement, Defendants
                                                         19       incorporate by reference Undisputed
                                                         20       Materials Facts, Nos. 22-35 as fully
                                                         21       stated herein.
                                                         22   ADJUDICATION OF ISSUE NO. 7:
                                                         23            Plaintiff’s Third Cause of Action for Whistleblower Retaliation in Violation of
                                                         24   Labor Code Section 1102.5 Against All Defendants must be adjudicated in favor of
                                                         25   Defendants, and each of them, because the undisputed facts establish as a matter of
                                                         26   law that Plaintiff did not engage in protected activity because his belief was
                                                         27   patently unreasonable as a matter of law. Separate Statement of Undisputed
                                                         28   Materials Facts, Nos. 42-110.

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                                                                                                                                  SEPARATE STATEMENT RE MSJ
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                                                                          UNDISPUTED FACTS                          SUPPORTING EVIDENCE
                                                          1
                                                          2
                                                              42.CHRP was a competitive grant                  Dkt. 33, ¶ 15.

                                                          3
                                                                  program that provided funding

                                                          4
                                                                  directly to law enforcement agencies,

                                                          5
                                                                  to be used to create and/or preserve

                                                          6
                                                                  jobs.

                                                          7   43.On July 31, 2009, the IPD was                 Dkt. 33, ¶ 16; Dkt. 47-5, Declaration of

                                                          8       awarded $3 million dollars from              Micah Herd (“Herd Decl.”), ¶ 4, Exh. K.

                                                          9       CHRP to hire ten police officers.

                                                         10   44.The CHRP grant was a                          Dkt. 47-5, Herd Decl., ¶ 5.

                                                         11       reimbursement program.

                                                         12   45.The CHRP grant was only a partial             Dkt. 47-5, Herd Decl., ¶ 5; Dkt. 47-2,
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                                                         13       reimbursement of the total costs for         Goldsmith Decl., ¶ 5, Exh. C, Butts
       BERGMAN DACEY GOLDSMITH




                                                         14       the hiring of officers; it required a        Depo. at 23:20-25.
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           Los Angeles, California 90024




                                                         15       25% match by the City to accept the

                                                         16       grant.

                                                         17   46.The CHRP grant could be modified              Dkt. 47-5, Herd Decl., ¶ 5.

                                                         18       from its intended purpose by an

                                                         19       approved request from the DOJ.

                                                         20   47.A manual was provided regarding               Dkt. 47-5, Herd Decl., ¶ 5.

                                                         21       applying for, maintaining and

                                                         22       modifying the CHRP grant.

                                                         23   48. From 2009 to July 2011 the City did          Dkt. 47-5, Herd Decl., ¶ 5.
                                                         24       not take advance of the CHRP grant.
                                                         25   49. From 2009 to July 2011 the City did          Dkt. 47-5, Herd Decl., ¶ 5; Dkt. 47-2,
                                                         26       not take advantage of the CHRP grant Goldsmith Decl., ¶ 8, Exh. F, Fields
                                                         27       because of the drain on City general         Depo. at 23:8-18.
                                                         28       fund resources.

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                                                                                                                                   SEPARATE STATEMENT RE MSJ
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                                                                          UNDISPUTED FACTS                          SUPPORTING EVIDENCE
                                                          1
                                                          2
                                                          3   50.The City’s payroll of salaries,

                                                          4       generally, comes from general fund           Dkt. 47-2, Goldsmith Decl., ¶ 8, Exh. F,

                                                          5       monies.                                      Fields Depo. at 22:13-22.

                                                          6   51. From 2009 to the present, the City           Dkt. 47-3, Saunders Decl., ¶¶ 7-10,

                                                          7       has operated in a financial deficit.         Exhs. H, I, and J; Dkt. 47-5, Herd Decl.,

                                                          8                                                    ¶ 10, Exh N; Dkt. 47-2, Goldsmith Decl.,

                                                          9                                                    ¶ 5, Exh. C, Butts Depo., 24:15-26:9.

                                                         10   52. In 2010, the City declared a state of        Dkt. 47-3, Saunders Decl., ¶¶ 7-10,

                                                         11       fiscal emergency.                            Exhs. H, I, and J; Dkt. 47-5, Herd Decl.,

                                                         12                                                    ¶ 10, Exh N.
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                                                         13   53. In October 2010, the City                    Dkt. 47-3, Saunders Decl., ¶¶ 7-10,
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                                                         14       implemented a City-wide layoff,              Exhs. H, I, and J; Dkt. 47-5, Herd Decl.,
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           Los Angeles, California 90024




                                                         15       including personnel from the                 ¶ 10, Exh N.

                                                         16       Inglewood Police Department.

                                                         17   54. The City implemented cost savings            Dkt. 47-3, Saunders Decl., ¶¶ 7-10,

                                                         18       measures to reduce the gap in the            Exhs. H, I, and J; Dkt. 47-5, Herd Decl.,

                                                         19       budget, including freezing positions,        ¶ 10, Exh N.

                                                         20       layoff of non-essential personal and

                                                         21       furlough.

                                                         22   55. These cost savings measures were             Dkt. 47-3, Saunders Decl., ¶¶ 7-10,
                                                         23       implemented from 2009 to the                 Exhs. H, I, and J; Dkt. 47-5, Herd Decl.,
                                                         24       present.                                     ¶ 10, Exh N.
                                                         25   56. In January 2011, the City elected            Dkt. 47-2, Goldsmith Decl., ¶ 5, Exh. C,
                                                         26       Mayor James Butts.                           Butts Depo. at 23:10-14.
                                                         27   57. When Mayor Butts took office, there          Dkt. 47-2, Goldsmith Decl., ¶ 5, Exh. C,
                                                         28       were positions in the Police                 Butts Depo., 33:8-18.

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                                                                          UNDISPUTED FACTS                            SUPPORTING EVIDENCE
                                                          1
                                                          2
                                                                  Department that were unfilled and

                                                          3
                                                                  removed from the budget, thus no

                                                          4
                                                                  longer needing funding.

                                                          5   58. In May 2011, the City’s budget was             Dkt. 47-3, Saunders Decl., ¶ 9, Exh. I.

                                                          6       amended to eliminate vacant positions

                                                          7       from the IPD.

                                                          8   59. To close the fiscal gap, Mayor Butts           Dkt. 47-2, Goldsmith Decl., ¶ 5, Exh. C,

                                                          9       began considering the possibility of           Butts Depo., 27:11-13, 35:15-24.

                                                         10       layoffs of IPD police officers in 2011.

                                                         11   60. In fact, a reduction in the size of the        Dkt. 47-2, Goldsmith Decl., ¶ 5, Exh. C,

                                                         12       police force also took place in 2008-          Butts Depo., 33:8-18.
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                                                         13       2009.
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                                                         14   61. Mr. Falkow knew, in his capacity of            Dkt. 47-2, Goldsmith Decl., ¶ 7, Exh. E,
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           Los Angeles, California 90024




                                                         15       Assistant City Manager, that eight             Falkow Depo. at 45:17-22; see also Dkt.

                                                         16       officers would need to be laid off to          47-5, Herd Decl., ¶¶ 6-7.

                                                         17       reduce the structural deficit.

                                                         18   62. In July 2011, the City hired Artie             Dkt. 47-2, Goldsmith Decl., ¶ 8, Exh. F,
                                                         19       Fields as the City Manager.                    Fields Depo. at 7:3-5.

                                                         20   63. After he was hired, Mr. Fields                 Dkt. 47-2, Goldsmith Decl., ¶ 8, Exh. F,
                                                         21       learned that the City had (1) gone             Fields Depo. at 16:6-9.
                                                         22       through about $30 million in reserves;
                                                         23       (2) that positions had been eliminated;
                                                         24       (3) that people have been laid off; (4)
                                                         25       that City employees were furloughed;
                                                         26       and (5) that city services and
                                                         27       programs were cut.
                                                         28   64. In July 2011, City Manager Fields              Dkt. 47-2, Goldsmith Decl., ¶ 8, Exh. F,

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                                                                          UNDISPUTED FACTS                           SUPPORTING EVIDENCE
                                                          1
                                                          2
                                                                  learned that the CHRP grant funds             Fields Depo. at 29:12-30:12.

                                                          3
                                                                  were not being used for hiring police

                                                          4
                                                                  officers and informed city staff about

                                                          5
                                                                  his experience in modifying a CHRP

                                                          6
                                                                  grant.

                                                          7   65. In July 2011, Mayor Butts attended a          Dkt. 47-2, Goldsmith Decl., ¶ 5, Exh. C,

                                                          8       meeting to discuss, in part, the CHRP         Butts Depo. at 46:8-12.

                                                          9       grant, and if the grant could be

                                                         10       utilized.

                                                         11   66. A discussion took place at the                Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,

                                                         12       meeting in July 2011 regarding the            Sissac 1 Depo. at 113:6-11; ¶ 5, Exh. C,
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                                                         13       possibility of modifying the CHRP             Butts Depo. at 46:8-12.
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                                                         14       grant from a hiring grant to a rehire
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                                                         15       grant, to preserve jobs.

                                                         16   67. Mayor Butts asked at this July 2011           Dkt. 47-2, Goldsmith Decl., ¶ 5, Exh. C,

                                                         17       meeting if it was a chance to rehire          Butts Depo., 48:21-25.

                                                         18       police officers that the City was

                                                         19       already intending to lay off.

                                                         20   68. City Manager Fields represented that          Dkt. 47-2, Goldsmith Decl., ¶ 8, Exh. F,

                                                         21       he had modified the CHRP grant to a           Fields Depo. at 50:2-13, 58:15-17.

                                                         22       rehire grant when he was the City

                                                         23       Manager of Salinas.

                                                         24   69. City Manager Fields knew that all             Dkt. 47-2, Goldsmith Decl., ¶ 8, Exh. F,

                                                         25       police officer vacant positions needed Fields Depo. at 17:6-8.

                                                         26       to be eliminated before a layoff could

                                                         27       occur.

                                                         28   70. City Manager Fields also knew that            Dkt. 47-2, Goldsmith Decl., ¶ 8, Exh. F,

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                                                                          UNDISPUTED FACTS                             SUPPORTING EVIDENCE
                                                          1
                                                          2
                                                                  in order to convert the City’s CHRP             Fields Depo. at 55:16-19, 56:2-3.

                                                          3
                                                                  hiring grant into a retention grant, the

                                                          4
                                                                  City could not engage in the practice

                                                          5
                                                                  of supplanting.

                                                          6   71. The City submitted a request to                 Dkt. 47-5, Herd Decl., ¶ 8, Exh. L.

                                                          7       modify the grant in August 2011.

                                                          8   72. At the time the City submitted its              Dkt. 47-2, Goldsmith Decl., ¶ 7, Exh. E,

                                                          9       application for a CHRP modification,            Falkow Depo. at 198:9-17.

                                                         10       it had a budget deficit and its

                                                         11       expenditures were exceeding its

                                                         12       revenues.
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                                                         13   73. Mr. Sissac did not review the August            Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,
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                                                         14       2011 modification request.                      Sissac 1 Depo. at 141:2-6.
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           Los Angeles, California 90024




                                                         15   74. The City referenced in the request the Dkt. 47-5, Herd Decl., ¶ 8, Exh. L.

                                                         16       impending layoffs, but did not attach

                                                         17       any layoff notices of as many as

                                                         18       fifteen police officers.

                                                         19   75. In August 2011, the DOJ rejected the Dkt. 47-5, Herd Decl., ¶ 9, Exh. M.
                                                         20       City’s modification request and

                                                         21       expressly provided that to modify the

                                                         22       CHRP grant to a rehire grant, the City

                                                         23       must demonstrate that the officers are

                                                         24       “officially scheduled for layoff on a

                                                         25       specific date.”

                                                         26   76. Mr. Sissac did not see or review the            Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,
                                                         27       rejection from the DOJ.                         Sissac 1 Depo. at 65:2-8.
                                                         28   77. In August 2011, the Chief of Police             Dkt. 47-2, Goldsmith Decl., ¶ 4, Exh. B,

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                                                                          UNDISPUTED FACTS                         SUPPORTING EVIDENCE
                                                          1
                                                          2
                                                                  called a meeting regarding CHRP that Sissac 2 Depo. at 235:17-21, 236:4-5.

                                                          3
                                                                  Mr. Sissac did not attend.

                                                          4   78. Mr. Sissac does not recall whether he Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,

                                                          5       attended the “meet and confer” that         Sissac 1 Depo. at 145:15-19; ¶ 4, Exh. B,

                                                          6       occurred between the City and the           Sissac 2 Depo. at 237:11-15.

                                                          7       Inglewood Police Association

                                                          8       regarding the layoffs.

                                                          9   79. On September 27, 2011, City                 Dkt. 47-3, Saunders Decl., ¶ 10, Exh. J.

                                                         10       Manager Fields presented to the City

                                                         11       Council the 2011-2012 City budget

                                                         12       for approval.
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                                                         13   80. On September 27, 2011, the City             Dkt. 47-2, Goldsmith Decl., ¶ 4, Exh. B,
       BERGMAN DACEY GOLDSMITH




                                                         14       Council for the City adopted the            Sissac 2 Depo. at 253:16-22.
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           Los Angeles, California 90024




                                                         15       2011-2012 annual budget.

                                                         16   81. The City’s approved 2011-2012               Dkt. 47-3, Saunders Decl., ¶¶ 8-10,

                                                         17       budget did not include the hiring of        Exhs. H, I, & J.

                                                         18       any new police officers.

                                                         19   82. The City’s 2011-2012 budget                 Dkt. 47-2, Goldsmith Decl., ¶ 4, Exh. B,

                                                         20       included the layoff of eight IPD            Sissac 2 Depo. at 253:16-22.

                                                         21       officers.

                                                         22   83. The City’s 2011-2012 budget had no          Dkt. 47-2, Goldsmith Decl., ¶ 7, Exh. E,
                                                         23       funded vacant police officer positions, Falkow Depo. at 46:1-11; 46:21-47:4,
                                                         24       which is City classification number         76:13, 208:4-6.
                                                         25       514.
                                                         26   84. In fact, the City saw a decrease in the Dkt. 47-2, Goldsmith Decl., ¶ 7, Exh. E,
                                                         27       514 sworn personnel since 2009.             Falkow Depo. at 208:10-12.
                                                         28   85. Under the City’s policies,                  Dkt. 47-2, Goldsmith Decl., ¶ 7, Exh. E,

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                                                                          UNDISPUTED FACTS                             SUPPORTING EVIDENCE
                                                          1
                                                          2
                                                                  procedures, and bargaining                      Falkow Depo. at 39:22-40:2.

                                                          3
                                                                  agreements, the City could not have

                                                          4
                                                                  laid off any officer if there had been a

                                                          5
                                                                  budgeted funded position in that

                                                          6
                                                                  classification.

                                                          7   86. The City’s 2011-2012 budget had                 Dkt. 47-2, Goldsmith Decl., ¶ 7, Exh. E,

                                                          8       eliminated or frozen all IPD police             Falkow Depo. at 206:12-15; Goldsmith

                                                          9       officer vacancies.                              Decl., ¶ 9, Exh. G.

                                                         10   87. The City’s 2011-2012 budget, even               Dkt. 47-3, Saunders Decl., ¶¶ 8-10,

                                                         11       with the cuts and elimination of                Exhs. H, I, & J; Dkt. 47-5, Herd Decl., ¶

                                                         12       positions, was still operating in a             10, Exh N.
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                                                         13       deficit.
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                                                         14   88. At the time, there were not enough              Dkt. 47-2, Goldsmith Decl., ¶ 8, Exh. F,
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                                                         15       reserves to balance the budget.                 Fields Depo. at 34:10-12.

                                                         16   89. More specifically, there were no                Dkt. 47-5, Herd Decl., ¶ 7; Dkt. 47-2,

                                                         17       general funds available in the IPD              Goldsmith Decl., ¶ 7, Exh. E, Falkow

                                                         18       budget for the retention of the eight           Depo. at 44:11-45:22.

                                                         19       police officers to be laid off.

                                                         20   90. During this time period, Mayor Butts Dkt. 47-2, Goldsmith Decl., ¶ 5, Exh. C,

                                                         21       and several City officials, traveled to         Butts Depo. at 54:10-23.

                                                         22       Washington D.C., and in one meeting

                                                         23       the Mayor met with the DOJ

                                                         24       regarding the CHRP grant.

                                                         25   91. Mayor Butts discussed with the DOJ              Dkt. 47-2, Goldsmith Decl., ¶ 5, Exh. C,
                                                         26       the modification of the CHRP grant to Butts Depo. at 54:10-23, 56:6-13.
                                                         27       determine, personally, if the City was
                                                         28       doing the proper thing.

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                                                                          UNDISPUTED FACTS                            SUPPORTING EVIDENCE
                                                          1
                                                          2
                                                              92. On October 5, 2011, the City issued            Dkt. 47-2, Goldsmith Decl., ¶ 4, Exh. B,

                                                          3
                                                                  layoff notices to the eight police             Sissac 2 Depo. at 252:8-13; see also Dkt.

                                                          4
                                                                  officers.                                      47-5, Herd Decl., ¶ 10, Exh N [layoff

                                                          5
                                                                                                                 notices].

                                                          6   93. Each officer was given a month’s               Dkt. 47-2, Goldsmith Decl., ¶ , Exh. B,

                                                          7       notification, and the effective date of        Sissac 2 Depo. at 250:6-11; see also Dkt.

                                                          8       the layoff was November 5, 2011.               47-5, Herd Decl., ¶ 10, Exh N [layoff

                                                          9                                                      notices].

                                                         10   94. On October 5, 2011, Chief of Police            Dkt. 33, ¶ 24; Dkt. 47-2, Goldsmith

                                                         11       Jacqueline Seabrooks, with then                Decl., ¶ 6, Exh. D, Fronterotta Depo. at

                                                         12       Captain (now Chief) Mark                       46:17-21.
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                                                         13       Fronterotta, held a meeting and
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                                                         14       presented the layoff notices to these
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                                                         15       eight officers.

                                                         16   95. Mr. Sissac did not attend the meeting Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,

                                                         17       of October 5, 2011.                            Sissac 1 Depo. at 72:6-9.

                                                         18   96. At the October 5, 2011 meeting,                Dkt. 47-2, Goldsmith Decl., ¶ 6, Exh. D,

                                                         19       some of the officers were emotional            Fronterotta Depo. at 47:9-12.

                                                         20       regarding the decision of the City to

                                                         21       layoff IPD officers.

                                                         22   97. Police Chief Seabrooks, at the                 Dkt. 47-2, Goldsmith Decl., ¶ 6, Exh. D,

                                                         23       October 5, 2011 meeting, did not               Fronterotta Depo. at 47:4-8.

                                                         24       advise these eight officers that they

                                                         25       were not really going to be laid off.

                                                         26   98. The decision of a layoff rests with            Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,
                                                         27       the City’s City Council.                       Sissac 1 Depo. at 79:20-22; Dkt. 47-3,
                                                         28                                                      Saunders Decl., ¶ 7.

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                                                                          UNDISPUTED FACTS                           SUPPORTING EVIDENCE
                                                          1
                                                          2
                                                              99. On October 12, 2011, the City                 Dkt. 47-5, Herd Decl., ¶ 10, Exh. N.

                                                          3
                                                                  submitted a second modification

                                                          4
                                                                  request to the DOJ.

                                                          5   100.      Attached to the October 2011            Dkt. 47-5, Herd Decl., ¶ 10, Exh. N.

                                                          6       modification request were copies of

                                                          7       the eight layoff notices.

                                                          8   101.      Mr. Sissac did not author the           Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,

                                                          9       October 2011 modification request.            Sissac 1 Depo. at 119:21-120:13.

                                                         10   102.      Mr. Sissac did not review the           Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,

                                                         11       October 2011 modification request.            Sissac 1 Depo. at 119:21-120:13.

                                                         12   103.      Mr. Sissac did not examine the          Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,
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                                                         13       City of Inglewood’s financial                 Sissac 1 Depo. at 130:22-131:3.
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                                                         14       condition around the time of the
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                                                         15       submission of the October 2011

                                                         16       modification request.

                                                         17   104.      City Attorney Saunders informed         Dkt. 47-3, Saunders Decl., ¶ 12.

                                                         18       Mr. Sissac that the issue had been

                                                         19       looked at and that the City should not

                                                         20       be concerned.

                                                         21   105.      On October 19, 2011, Police             Dkt. 47-5, Herd Decl., ¶ 11, Exh. O.
                                                         22       Chief Seabrooks received an email
                                                         23       from the DOJ notifying the City that
                                                         24       the DOJ had granted the modification
                                                         25       request.
                                                         26   106. The modified CHRP grant                      Dkt. 47-5, Herd Decl., ¶ 12, Exhs. P &
                                                         27       authorized the City to use the CHRP           Q.
                                                         28       grant to retain eight (8) officers,

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                                                                          UNDISPUTED FACTS                            SUPPORTING EVIDENCE
                                                          1
                                                          2
                                                                  although the City had just notified the

                                                          3
                                                                  officers of the layoff.

                                                          4   107.      The DOJ modified the City’s              Dkt. 47-5, Herd Decl., ¶ 12, Exhs. P &

                                                          5       grant because, in part, (1) the layoffs        Q.

                                                          6       could have occurred even in the

                                                          7       absence of the CHRP grant because

                                                          8       of the local financial reasons

                                                          9       documented in the City’s request, and

                                                         10       (2) the City will use the CHRP funds

                                                         11       only after the scheduled lay-off date.

                                                         12   108.      Mr. Sissac believed that he did          Dkt. 47-2, Goldsmith Decl., ¶ 4, Exh. B,
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                                                         13       receive and review the modification            Sissac 2 Depo. at 254:15-17.
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                                                         14       award by the DOJ of the CHRP grant,
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                                                         15       but could not recall.

                                                         16   109.      Mr. Sissac is unaware as to what         Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,

                                                         17       statutory authority the DOJ relied             Sissac 1 Depo. at 45:19-23.

                                                         18       upon to grant the modification request

                                                         19       with only layoff notices.

                                                         20   110. In February 2012, the City                    Dkt. 47-5, Herd Decl., ¶ 15.

                                                         21       requested reimbursement from the

                                                         22       CHRP program, and that request was

                                                         23       granted by the federal government.

                                                         24   ADJUDICATION OF ISSUE NO. 8:

                                                         25            Plaintiff’s Third Cause of Action for Whistleblower Retaliation in Violation of

                                                         26   Labor Code Section 1102.5 Against All Defendants must be adjudicated in favor of

                                                         27   Defendants, and each of them, because the undisputed facts establish as a matter of

                                                         28   law that even if Plaintiff engaged in protected activity, there is no causal

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                                                          1   connection between the protected activity and the adverse employment action.
                                                          2   Separate Statement of Undisputed Materials Facts, Nos. 111-123.
                                                          3               UNDISPUTED FACTS                           SUPPORTING EVIDENCE
                                                          4   111.      Mr. Sissac does not know if City        Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,
                                                          5       Attorney Saunders spoke to Mayor              Sissac 1 Depo. at 192:17-23.
                                                          6       Butts.
                                                          7   112.      City Attorney Saunders generally        Dkt. 47-3, Saunders Decl., ¶ 6.
                                                          8       did not share the identity of the
                                                          9       persons who share their legal
                                                         10       concerns with him.
                                                         11   113.      Mr. Sissac never authorized City        Dkt. 47-3, Saunders Decl., ¶ 12.
                                                         12       Attorney Saunders to share his
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                                                         13       concerns with anyone.
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                                                         14
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                                                              114.      City Attorney Saunders did not          Dkt. 47-3, Saunders Decl., ¶ 12.
                                                         15       speak with Mayor Butts regarding
                                                         16       Mr. Sissac’s concern regarding the
                                                         17       modification of the CHRP grant.
                                                         18   115.      Mayor Butts was never notified          Dkt. 47-2, Goldsmith Decl., ¶ 5, Exh. C,
                                                         19       (by anyone) that Mr. Sissac met with          Butts Depo., 65:11-15.
                                                         20       City Attorney Saunders, wherein Mr.
                                                         21       Sissac conveyed his belief that the
                                                         22       manner that the CHRP grant was
                                                         23       being modified or used was unlawful.
                                                         24   116.      City Attorney Saunders did not          Dkt. 47-3, Saunders Decl., ¶ 12.
                                                         25       speak to then Captain (now Chief)
                                                         26       Fronterotta regarding Mr. Sissac’s
                                                         27       concern regarding the modification of
                                                         28       the CHRP grant.
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                                                                                                                                  SEPARATE STATEMENT RE MSJ
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                                                                          UNDISPUTED FACTS                           SUPPORTING EVIDENCE
                                                          1
                                                          2
                                                              117.      Mr. Sissac did not tell the City        Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,

                                                          3
                                                                  Council of his “supplanting” concerns Sissac 1 Depo. at 158:6-9; see also Dkt.

                                                          4
                                                                  regarding the CHRP grant.                     47-2, Goldsmith Decl., ¶ 7, Exh. E,

                                                          5
                                                                                                                Falkow Depo. at 58:13-16.

                                                          6   118.      Mayor Butts never found out that        Dkt. 47-2, Goldsmith Decl., ¶ 5, Exh. C,

                                                          7       Mr. Sissac maintained that the                Butts Depo., 61:1-5.

                                                          8       manner that the City was modifying

                                                          9       the CHRP grant to secure the $3

                                                         10       million funds was done unlawfully.

                                                         11   119.      Then Captain (now Chief)                Dkt. 47-2, Goldsmith Decl., ¶ 6, Exh. D,

                                                         12       Fronterotta never learned in the              Fronterotta Depo. at 28:8-14; 40:13-16.
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                                                         13       Summer of 2011 that Mr. Sissac
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                                                         14       expressed an opinion that the manner
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                                                         15       in which the City’s CHRP grant was

                                                         16       being modified was illegal.

                                                         17   120.      On or about October 8, 2015,            Dkt. 33, ¶ 37.

                                                         18       Plaintiff’s termination became final.

                                                         19   121.      Mayor Butts was never advised           Dkt. 47-2, Goldsmith Decl., ¶ 5, Exh. C,

                                                         20       by Chief Fronterotta that the Chief           Butts Depo., 89:8-13; Dkt. 47-2,

                                                         21       would be recommending termination             Goldsmith Decl., ¶ 6, Exh. D,

                                                         22       of Mr. Sissac.                                Fronterotta Depo. at 243:7-23.

                                                         23   122.      Mr. Falkow did not tell Mayor           Dkt. 47-2, Goldsmith Decl., ¶ 7, Exh. E,

                                                         24       Butts that Mr. Sissac was claiming            Falkow Depo. at 192:24-193:2.

                                                         25       that he was being retaliated against

                                                         26       because of his concern regarding the

                                                         27       CHRP grant.

                                                         28   123.      Mr. Falkow did not tell Chief           Dkt. 47-2, Goldsmith Decl., ¶ 7, Exh. E,

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                                                                          UNDISPUTED FACTS                           SUPPORTING EVIDENCE
                                                          1
                                                          2
                                                                  Fronterotta that Mr. Sissac was               Falkow Depo. at 195:4-7.

                                                          3
                                                                  claiming that he was being retaliated

                                                          4
                                                                  against because of his concern

                                                          5
                                                                  regarding the CHRP grant funding.

                                                          6   ADJUDICATION OF ISSUE NO. 9:

                                                          7            Plaintiff’s Fourth Cause of Action for Defamation Against the Individual

                                                          8   Defendants must be adjudicated in favor of Defendants, and each of them, because

                                                          9   the undisputed facts establish as a matter of law that the alleged oral defamatory

                                                         10   statement made by Mayor Butts never occurred.                      Separate Statement of

                                                         11   Undisputed Materials Facts, Nos. 124-130.

                                                         12                UNDISPUTED FACTS                          SUPPORTING EVIDENCE
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                                                         13    124. According to Mr. Sissac’s First             Dkt. 33, ¶ 79.
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                                                         14         Amended Complaint, the first
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                                                         15         defamatory statement was an oral
                                                         16         statement made by Mayor Butts: “On
                                                         17         June 9, 2014, Defendant Butts
                                                         18         published a defamatory statement
                                                         19         about the Plaintiff by stating to a
                                                         20         civilian that Plaintiff had severe
                                                         21         deficits in his performance.”
                                                         22    125. Plaintiff further alleges in his            Dkt. 33, ¶ 80.
                                                         23         First Amended Complaint that “The
                                                         24         statement was defamatory in that it
                                                         25         addressed Plaintiff’s performance as
                                                         26         a Police Captain. The statement was
                                                         27         also untrue since Plaintiff did not
                                                         28         have severe deficits in his

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                                                                                                                                 SEPARATE STATEMENT RE MSJ
                                                       Case 2:15-cv-01741-JAK-FFM Document 47-1 Filed 08/29/16 Page 24 of 30 Page ID
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                                                                           UNDISPUTED FACTS                            SUPPORTING EVIDENCE
                                                          1
                                                                    performance. In addition, the
                                                          2
                                                                    statement was not privileged and it
                                                          3
                                                                    was made with malice, because
                                                          4
                                                                    Defendant Butts had personal
                                                          5
                                                                    animosity towards the Plaintiff
                                                          6
                                                                    because the Plaintiff stated that
                                                          7
                                                                    Defendant Butts had engaged in
                                                          8
                                                                    illegal conduct with regards to his
                                                          9
                                                                    handling of the CHRP grant as
                                                         10
                                                                    alleged herein.”
                                                         11
                                                               126.       In June 2014, Mayor Butts and           Dkt. 47-8, Declaration of Kevin Harris
                                                         12
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                                                                    Kevin Harris Sr. had a conversation,          (“Harris Decl.”), ¶ 7.
                                                         13
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                                                                    where, among other things, Mr.
                                                         14
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                                                                    Sissac’s name was mentioned.
                                                         15
                                                               127.       Mr. Harris told Mayor Butts that        Dkt. 47-8, Harris Decl., ¶ 7.
                                                         16
                                                                    he was impressed with Mr. Sissac’s
                                                         17
                                                                    ability to empathize with the families
                                                         18
                                                                    of gun violence victims.
                                                         19
                                                         20
                                                               128.       In response, Mayor Butts said           Dkt. 47-8, Harris Decl., ¶ 8.

                                                         21
                                                                    that Mr. Sissac sometimes had

                                                         22
                                                                    opinions—without disclosing what

                                                         23
                                                                    those opinions were—that conflicted

                                                         24
                                                                    with the opinions of Mr. Sissac’s

                                                         25
                                                                    superiors.

                                                         26    129.       Mayor Butts did not comment on Dkt. 47-8, Harris Decl., ¶ 8.

                                                         27         the job performance of Mr. Sissac,

                                                         28         nor did Mayor Butts say that Mr.

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                                                                                                                                     SEPARATE STATEMENT RE MSJ
                                                       Case 2:15-cv-01741-JAK-FFM Document 47-1 Filed 08/29/16 Page 25 of 30 Page ID
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                                                                           UNDISPUTED FACTS                             SUPPORTING EVIDENCE
                                                          1
                                                                    Sissac had severe deficits in his
                                                          2
                                                                    performance as a police officer.
                                                          3
                                                               130.       Mayor Butts did not tell Mr.             Dkt. 47-8, Harris Decl., ¶ 8; Dkt. 47-2,
                                                          4
                                                                    Harris that Mr. Sissac was bad at his          Goldsmith Decl., ¶ 5, Exh. C, Butts
                                                          5
                                                                    job.                                           Depo., 83:9-12.
                                                          6
                                                              ADJUDICATION OF ISSUE NO. 10:
                                                          7
                                                                       Plaintiff’s Fourth Cause of Action for Defamation Against the Individual
                                                          8
                                                              Defendants must be adjudicated in favor of Defendants, and each of them, because
                                                          9
                                                              the undisputed facts establish as a matter of law that the alleged oral defamatory
                                                         10
                                                              statement made by Mayor Butts was a nonactionable statement of opinion.
                                                         11
                                                              Separate Statement of Undisputed Materials Facts, No. 131.
                                                         12
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                                                         13                UNDISPUTED FACTS                             SUPPORTING EVIDENCE
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                                                         14    131. Mr. Sissac alleges that “On June               Dkt. 33, ¶ 79.
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           Los Angeles, California 90024




                                                         15         9, 2014, Defendant Butts published a

                                                         16         defamatory statement about the

                                                         17         Plaintiff by stating to a civilian that

                                                         18         Plaintiff had severe deficits in his

                                                         19         performance.”

                                                         20   ADJUDICATION OF ISSUE NO. 11:

                                                         21            Plaintiff’s Fourth Cause of Action for Defamation Against the Individual

                                                         22   Defendants must be adjudicated in favor of Defendants, and each of them, because

                                                         23   the undisputed facts establish as a matter of law that the alleged written defamatory

                                                         24   statement made by Chief Fronterotta was not published to a third party.

                                                         25   Separate Statement of Undisputed Materials Facts, Nos. 132-134.

                                                         26                UNDISPUTED FACTS                             SUPPORTING EVIDENCE
                                                         27    132. According to Mr. Sissac’s First                Dkt. 33, ¶ 81.
                                                         28         Amended Complaint, the second

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                                                                                                                                      SEPARATE STATEMENT RE MSJ
                                                       Case 2:15-cv-01741-JAK-FFM Document 47-1 Filed 08/29/16 Page 26 of 30 Page ID
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                                                                           UNDISPUTED FACTS                          SUPPORTING EVIDENCE
                                                          1
                                                                    alleged defamatory statement was a
                                                          2
                                                                    written statement made by Chief
                                                          3
                                                                    Fronterotta: “On July 15, 2014,
                                                          4
                                                                    Plaintiff was served with a
                                                          5
                                                                    performance evaluation drafted by
                                                          6
                                                                    Chief Fronterotta. As provided
                                                          7
                                                                    herein, the performance evaluation
                                                          8
                                                                    contained defamatory and untrue
                                                          9
                                                                    statements about Plaintiff’s
                                                         10
                                                                    performance. The statements were
                                                         11
                                                                    not privileged since it was made with
                                                         12
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                                                                    malice because Defendant
                                                         13
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                                                                    Fronterotta, had personal animosity
                                                         14
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           Los Angeles, California 90024




                                                                    towards the Plaintiff because
                                                         15
                                                                    Plaintiff stated that Defendant
                                                         16
                                                                    Fronterotta had engaged in illegal
                                                         17
                                                                    conduct with regards to his handling
                                                         18
                                                                    of the CHRP grant as alleged
                                                         19
                                                                    herein.”
                                                         20
                                                               133. Mr. Sissac does not allege in the           Dkt. 33, ¶ 81.
                                                         21
                                                                    operative First Amended Complaint
                                                         22
                                                                    that the performance evaluation
                                                         23
                                                                    drafted by Chief Fronterotta in 2015
                                                         24
                                                                    was published to a third party.
                                                         25
                                                               134. Mr. Sissac admitted that he is not          Dkt. 47-2, Goldsmith Decl., ¶ 3, Exh. A,
                                                         26
                                                                    aware that, at the time of the              Sissac 1 Depo. at 222:8-11.
                                                         27
                                                                    performance evaluation, anyone
                                                         28
                                                                    received a copy of the evaluation
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                                                                                                                                  SEPARATE STATEMENT RE MSJ
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                                                                           UNDISPUTED FACTS                            SUPPORTING EVIDENCE
                                                          1
                                                                    authored by Chief Fronterotta that he
                                                          2
                                                                    claims is libelous.
                                                          3
                                                              ADJUDICATION OF ISSUE NO. 12:
                                                          4
                                                                       Plaintiff’s Fourth Cause of Action for Defamation Against the Individual
                                                          5
                                                              Defendants must be adjudicated in favor of Defendants, and each of them, because
                                                          6
                                                              the undisputed facts establish as a matter of law that the alleged written defamatory
                                                          7
                                                              statement made by Chief Fronterotta was a nonactionable opinion. Separate
                                                          8
                                                              Statement of Undisputed Materials Facts, No. 135.
                                                          9
                                                         10                UNDISPUTED FACTS                            SUPPORTING EVIDENCE

                                                         11    135. In response to a question about               Dkt. 47-2, Goldsmith Decl., ¶ 4, Exh. B,

                                                         12         what he felt was defamatory about             Sissac 2 Depo. at 386:20-387:2.
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                                                         13         the written statement, Mr. Sissac
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                                                         14         replied: “They are factually
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                                                         15         incorrect. They put me into a light

                                                         16         that I failed as a captain. I think

                                                         17         there’s language in here that actually

                                                         18         says I failed at my job or failed to

                                                         19         complete something. I don’t know

                                                         20         where it is. I’ll have to research the

                                                         21         entire document to find out.”

                                                         22   ADJUDICATION OF ISSUE NO. 13:

                                                         23            Plaintiff’s Fourth Cause of Action for Defamation Against the Individual

                                                         24   Defendants must be adjudicated in favor of Defendants, and each of them, because

                                                         25   the undisputed facts establish as a matter of law that the doctrine of qualified

                                                         26   immunity applies to the statements of both Mayor Butts and Chief Fronterotta.

                                                         27   Separate Statement of Undisputed Materials Facts, No. 136.

                                                         28                UNDISPUTED FACTS                            SUPPORTING EVIDENCE

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                                                                                                                                    SEPARATE STATEMENT RE MSJ
                                                       Case 2:15-cv-01741-JAK-FFM Document 47-1 Filed 08/29/16 Page 28 of 30 Page ID
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                                                                           UNDISPUTED FACTS                            SUPPORTING EVIDENCE
                                                          1
                                                               136.       For ease of reference, and to           See Above. Undisputed Materials Facts,
                                                          2
                                                                    minimize repetition and the length of Nos. 133-145 facts speak to this issue.
                                                          3
                                                                    this separate statement, Defendants
                                                          4
                                                                    incorporate by reference Undisputed
                                                          5
                                                                    Materials Facts, Nos. 133-145 as
                                                          6
                                                                    fully stated herein.
                                                          7
                                                              ADJUDICATION OF ISSUE NO. 14:
                                                          8
                                                                       Plaintiff’s Fifth Cause of Action for violation of Gov’t Code §3304 Against
                                                          9
                                                              Defendant City of Inglewood must be adjudicated in favor of Defendants, and each
                                                         10
                                                              of them, because the undisputed facts establish as a matter of law that Plaintiff
                                                         11
                                                              cannot establish that Defendants’ failure to remove the overturned written
                                                         12
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                                                              reprimand is a punitive action. Separate Statement of Undisputed Materials Facts,
                                                         13
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                                                              Nos. 137-145.
                                                         14
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                                                         15                UNDISPUTED FACTS                            SUPPORTING EVIDENCE

                                                         16    137. On May 16, 2014, Mr. Sissac                   Dkt. 33, ¶ 81.

                                                         17         received a written reprimand from

                                                         18         Defendant Fronterotta regarding Mr.

                                                         19         Sissac having missed a training

                                                         20         class.

                                                         21    138. However, this written reprimand               Dkt. 47-2, Goldsmith Decl., ¶ 6, Exh. D,

                                                         22         was not timely, as it fell outside the        Fronterotta Depo. at 153:4-11, 153:23-

                                                         23         one-year statute of limitations.              154:8.

                                                         24    139. Chief Fronterotta admitted that               Dkt. 47-2, Goldsmith Decl., ¶ 6, Exh. D,

                                                         25         his Internal Affairs lieutenant gave          Fronterotta Depo. at 153:23-154:8.

                                                         26         him the wrong date when

                                                         27         investigating Mr. Sissac’s failure to

                                                         28         attend a training class.

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                                                                                                                                    SEPARATE STATEMENT RE MSJ
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                                                                           UNDISPUTED FACTS                            SUPPORTING EVIDENCE
                                                          1
                                                               140. After realizing that he had the               Dkt. 47-2, Goldsmith Decl., ¶ 6, Exh. D,
                                                          2
                                                                    incorrect date, Chief Fronterotta             Fronterotta Depo. at 153:23-154:8.
                                                          3
                                                                    overturned Mr. Sissac’s discipline.
                                                          4
                                                               141. When any written reprimand is                 Dkt. 47-2, Goldsmith Decl., ¶ 6, Exh. D,
                                                          5
                                                                    rescinded or withdrawn, the IPD still Fronterotta Depo. at 154:14-17.
                                                          6
                                                                    retains the paperwork in its files.
                                                          7
                                                               142. Every five or five and a half                 Dkt. 47-2, Goldsmith Decl., ¶ 6, Exh. D,
                                                          8
                                                                    years, the IPD conducts purges                Fronterotta Depo. at 154:14-17.
                                                          9
                                                                    where overturned written reprimands
                                                         10
                                                                    are eventually purged.
                                                         11
                                                         12
                                                               143. The IPD retains these overturned              Dkt. 47-2, Goldsmith Decl., ¶ 6, Exh. D,
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                                                         13
                                                                    written reprimands as part of their           Fronterotta Depo. at 154:18-155:8.
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                                                         14
                                                                    best practices for document
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                                                         15
                                                                    retention.

                                                         16    144. Chief Fronterotta testified that it           Dkt. 47-2, Goldsmith Decl., ¶ 6, Exh. D,

                                                         17         is a “dangerous area” to remove               Fronterotta Depo. at 154:18-155:8.

                                                         18         documents from files and that “you

                                                         19         just don’t summarily just destroy

                                                         20         records.”

                                                         21    145. In fact, the IPD does not destroy             Dkt. 47-2, Goldsmith Decl., ¶ 6, Exh. D,

                                                         22         its records without official approval,        Fronterotta Depo. at 154:18-155:8.

                                                         23         such as approval from the City

                                                         24         Council or a court order.

                                                         25    146. Mr. Sissac applied for                        Dkt. 47-2, Goldsmith Decl., ¶ 10.

                                                         26         employment at the Fontana Unified

                                                         27         School District (“FUSD”), to be the

                                                         28         FUSD’s Chief of Police.

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                                                                                                                                    SEPARATE STATEMENT RE MSJ
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                                                                           UNDISPUTED FACTS                          SUPPORTING EVIDENCE
                                                          1
                                                               147. Mr. Sissac signed a written                 Dkt. 47-2, Goldsmith Decl., ¶ 10.
                                                          2
                                                                    authorization for the background
                                                          3
                                                                    investigator to obtain and receive
                                                          4
                                                                    Mr. Sissac’s Internal Affairs (“IA”)
                                                          5
                                                                    files.
                                                          6
                                                               148. The IA files included a folder              Dkt. 47-2, Goldsmith Decl., ¶ 10.
                                                          7
                                                                    which contains the written reprimand
                                                          8
                                                                    by Chief Fronterotta, and its
                                                          9
                                                                    recovation.
                                                         10
                                                               149. The background investigator was             Dkt. 47-2, Goldsmith Decl., ¶ 10.
                                                         11
                                                                    provided with Mr. Sissac’s IA files.
                                                         12
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                                                         13
                                                               150. Mr. Sissac was hired by the                 Dkt. 47-2, Goldsmith Decl., ¶ 10.
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                                                         14
                                                                    FUSD as its Chief of Police.
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                                                         15
                                                              DATED: August 29, 2016                BERGMAN DACEY GOLDSMITH
                                                         16
                                                         17
                                                                                                    By:
                                                         18                                               Gregory M. Bergman
                                                                                                          Michele M. Goldsmith
                                                         19                                               Jason J. Barbato
                                                                                                    Attorneys for Defendants
                                                         20                                         CITY OF INGLEWOOD; MAYOR JAMES
                                                                                                    BUTTS; CHIEF OF POLICE MARK
                                                         21                                         FRONTEROTTA
                                                         22
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                                                                                                                                  SEPARATE STATEMENT RE MSJ
